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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 JANE DOE,                                                    :
                                              Plaintiff,      :
                                                              :       24 Civ. 7976 (LGS)
                            -against-                         :
                                                              :            ORDER
 SEAN COMBS et al.,                                           :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        Plaintiff initiated this action by filing a Complaint on October 20, 2024. Plaintiff appears

to seek to proceed under a pseudonym, as the Complaint identifies Plaintiff as “Jane Doe.”

Pursuant to Rule 6.14(b) of the S.D.N.Y. Electronic Case Filing Rules & Instructions, such a

proceeding must be commenced as a miscellaneous case with leave from the Court to proceed

using a pseudonym. It is hereby

        ORDERED that this action is dismissed for failure to comply with ECF Rule 6.14(b).

Plaintiff may commence a new action in accordance with that rule. Plaintiff is referred to the

ECF Help Desk and/or the Clerk’s Office for procedural assistance in commencing the action.

        The Clerk of Court is respectfully directed to close this case.

Dated: October 21, 2024
       New York, New York
